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 .   .
                   IN THE UNITED ST ATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                           )
IN RE: PACER FEE EXEMPTIONS                                )
                                                           )
                                                           )     Misc. No. 09-239
Kate Stith (PACER Account 3736354),                        )
                                             Movant.       )


                                        ORDER

         This matter is before the court upon the application and request by Kate Stith

(" Ms. Stith") for exemption from the fees imposed by the Electronic Public Access fee

schedule adopted by the Judicial Conference of the United States Courts (ECF No. 11).

         This court finds that Ms. Stith is an individual researcher associated with an

educational institution and, therefore, falls within the class of users listed in the fee

schedule as being eligible for a fee exemption . Additionally, Ms. Stith demonstrated that

an exemption is necessary in order to avoid unreasonable burdens and to promote public

access to information.

         Accordingly, Ms. Stith (PACER Account 3736354) shall be exempt from the

payment of fees for access via the Public Access to Court Electronic Records system (the

"PACER System" ) to the electronic case files maintained by this court, to the extent such

use is incurred in the course of the academic research project described in the Application

for Multi-Court Exemption from the Judicial Conference' s Electronic Public Access Fees

in the United States District Court for the Western District of Pennsylvania (the

"Application" ) (ECF No. 11). Ms. Stith shall not be exempt from the payment of fees
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 .   .
incurred in connection with other uses of the PACER System in this court. Additionally,

the following limitations apply:

         1) This fee exemption applies only to Ms. Stith and is valid only for the

            academic research project described in the Application;

         2) This fee exemption applies only to the electronic case files of this court

            that are available through the PACER System;

         3) By accepting this exemption, Ms. Stith agrees not to sell for profit any data

            obtained as a result of receiving this exemption;

         4) Ms. Stith is prohibited from transferring any data obtained as a result of

            receiving this exemption, including redistribution via Internet based

            databases. This prohibition does not prevent Ms. Stith from relying upon

            the data obtained as a result of receiving this exemption in or in connection

            with the scholarly project described in the Application;

         5) This exemption is valid for twelve months from the date of this Order,

            which time period may be extended upon request made to the court at this

            docket number by Ms. Stith.

         This exemption may be revoked at the discretion of the Court at any time. The

Clerk of Court of the United States District Court for the Western District of




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 ..
Pennsylvania, or his designee, may periodically review the usage of Ms. Stith's exempt

PACER System account during the term of this exemption.


Dated: June ~   ' 2018                                BY THE COURT:

                                                      Isl Jo Flowers Co
                                                      Joy Flowers Conti
                                                      Chief U.S. District Ju   e



cc:   PACER Service Center (via email)
      Kate Stith (via email)




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